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                                                  June 19, 2025

      Patricia S. Dodszuweit, Clerk of Court
      U.S. Court of Appeals for the Third Circuit
      21400 United States Courthouse
      601 Market Street
      Philadelphia, PA 19106-1790

      Re:    Letter pursuant to Fed. R. App. P. 28(j), No. 25-1555, Atlas Data Privacy
             Corp v. We Inform, LLC

      Dear Ms. Dodszuweit:

           The NJAG writes regarding Kratovil v. City of New Brunswick, ___ A.3d
     ___, 2025 WL 1689346 (N.J. June 17, 2025), in which the New Jersey Supreme
     Court upheld Daniel’s Law against an as-applied First Amendment challenge.
     Four points are particularly relevant.

             First, in a dispute involving a journalist who sought to publish a retired
     police officer’s home address, Kratovil applied the framework delineated in
     Florida Star v. B.J.F., 491 U.S. 524 (1989). Citing Schrader v. District Attorney
     of York County, 74 F.4th 120 (3d Cir. 2023), the Court acknowledged both
     traditional tiers of scrutiny and Florida Star as potential frameworks, but applied
     only Florida Star, as Kratovil himself had urged. Kratovil, 2025 WL 1689346,
     at *13 n.5. That is the framework Judge Bartle properly applied below.

            Second, Kratovil confirmed that Daniel’s Law serves interests of the
     highest order: addressing “risks to the safety and privacy of law enforcement and
     other covered persons serving this State.” Id. at *16; see id. at *14-15.



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        Third, Kratovil found this “carefully calibrated” law narrowly tailored,
employing the least-restrictive means “among available, effective alternatives.”
Id. at *15 (quoting Schrader, 74 F.4th at 127). Initially, the Court noted, the
statute applies only to “discrete categories” of “public officials viewed by the
Legislature to be at particular risk,” and only to home addresses and unpublished
home telephone numbers. Id.; see also id. at *8 n.2 (confirming “address” means
“exact street address,” not simply town name). Moreover, the Court emphasized,
the law’s opt-in structure and notice provisions “ensure[] that the statute is not a
trap for the unwary,” since it does not apply “unless and until an authorized
person invokes [the law’s] protections” through its “strict notice requirement.”
Id. at *15. Further, Daniel’s Law is not underinclusive, and unlike other statutes
cited treats all private speakers the same. Id. at *15-16.

        Notably, the Court upheld Daniel’s Law even where the speech “relate[d]
to a matter of public concern,” expressly distinguishing the mine-run applications
implicated by this facial challenge. Id. at *14 & n.7. That underscores that the
facial relief sought here is especially unwarranted, as Judge Bartle recognized.

                                Respectfully submitted,

                                MATTHEW J. PLATKIN
                                ATTORNEY GENERAL OF NEW JERSEY

                          By:   /s/ Michael L. Zuckerman
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cc: All counsel (via ECF)
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